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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                 BID PROTEST


AMAZON WEB SERVICES, INC.,
                                                 Case No. 19-cv-01796
                     Plaintiff,
                                                 Judge Campbell-Smith
      v.

UNITED STATES OF AMERIC
by and through the U.S. Department of Defense,

                     Defendant,                  FINAL REDACTED
                                                 VERSION
      and

MICROSOFT CORPORATION,

                     Defendant-Intenrenor.




            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                   PLAINTIFF AMAZON WEB SERVICES, INC.'S
-           RENE\VED MOTION TO   PPLEMEJ T THE ADMINISTRATIVE RECORD
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                                        INTRODUCTION

        Plaintiff Amazon Web Seivices, Inc. ("AWS") respectfully moves to supplement the

administrative record ("AR") submitted by the Defendant, the United States of America, acting by

and through the Department of Defense ("DoD''), in connection with AWS's protest of the award

of the Joint Enterprise Defense Infrastructure ("JEDI'') Contract, Solicitation No. HQ0034-l 8-R-

0077, to Microsoft Corporation ("Microsoft").

       This case demands an expanded AR so that the Court may fully assess AWS's well-

grounded claims of bias and bad faith. President Donald J. Trump has repeatedly demonstrated

his willingness to use his position as President and Commander in Chief to disrupt the orderly

administration of government functions-including federal procurements-to advance personal

motives. There is no question he did so here.

       President Tnunp's bias against Jeffrey P. Bezos, founder of AWS's parent company,

Amazon.com, Inc. ("Amazon"), is a matter of public record. Even before taking office, President

Tm.mp campaigned on a promise that Amazon would "have problems" if he became President.

When it came time for DoD to select a cloud-services provider to fulfill the important JEDI

Conti-act, the President made crystal clear-both to the public at large, and by clear implication to

senior DoD officials (including his political appointees}--that he did not want his Administration

to award the contract to A WS. In addition to his public tweets and statements criticizing Amazon

and Mr. Bezos, he directed DoD to «screw Amazon" out of the JEDI Contract, and in July 2019,

again ordered DoD to "look ve1y closely" into the JEDI procurement based on his own claim of

"tremendous ... complaints" about AWS. Upon receiving that instrnction, Secreta1y of Defense

Mark T. Esper embarked upon an "exmnination" of the procurement and met multiple times with

procurement personnel tasked with evaluating the JEDI proposals. During this time period, DoD
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evaluators' reports shifted in favor of Microsoft and against AWS, ultimately culminating in a

recommendation for the Source Selection A uthority to award the JEDI Contract to Microsoft.

       In awarding the JEDI Contract to Microsoft, DoD committed numerous and compom1ding

prejudicial enors. These errors pervaded nearly eve1y evaluation factor to systematically disfavor

AWS, including DoD arbitrarily relying on an outdated, superseded version of AWS's proposal;

contradicting its own earlier factual detenninations; misstating facts from AWS's proposal;

downplaying gross deficiencies and failures in Microsoft's proposal and demonstrations; and

fabricating areas of superiority in the final stages of evaluation to favor Microsoft. These err01·s

ultimately resulted in DoD awarding the JEDI Contract to a technologically inferior proposal that

did not present the best value to the Government.

       At a minimum, these en-ors reveal a process that was fatally flawed and highly unusual.

But the clear, public record of the Co.ll.llDander in Chiefs personal animus toward Amazon and

Mr. Bezos, his campaign pledge to ensure that Amazon would "have problems" if be became

President, and his unprecedented interference in the JEDI award process with the DoD leadership

team all demruJd that DoD 's errors be assessed in light of a full record of that bias and pressure.

Accordingly, A WS seeks discovery and supplementation that are narrowly tailored to include the

public record of bias and to develop facts not cunently known or accessible to A WS demonstrating

exactly how President Tnunp's order to "screw Amazon" was carried out during the decision-

making process.

       Without supplementation, the Court cannot objectively and fully evaluate AWS's credible

and well-grollllded allegations about bias and bad faith. Moreover, even the unquestionable

appearance of bias in this case alone requires a supplemented AR to dispel any doubts about the

hue basis for DoD's action. Tue rule oflaw, the preservation of public confidence in the nation's




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procurement process, and AWS' s right to fully present its case for effective judicial review compel

targeted discove1y and supplementation of the AR.

                                     QUESTION PRESENTED

         In light of AWS's well-grounded and credible allegations of bad faith and bias, should the

Court permit targeted discovery and supplementation of the AR to ensure that all material facts

are presented to the Court and to allow the Court to objectively and fully evaluate the bid protest?

                                     STATEMENT OF FACTS

         DoD's decision to award the JEDI Contract to Microsoft resulted from numerous and

compounding prejudicial errors that systematically overlooked critical aspects of AWS's and

Microsoft's proposals to skew the best-value determination in :tvli rosoft's favor. These troubling

errors alone are enough to require reversal of the award.          But this case also raises a more

fundamental and disturbing concern about the integrity of the JEDI procurement process and how

President Trump used his position as President and Commander in Chief to improperly influence

that process in furtherance of his personal and political interests. 1

A.       President Trump Has Consistently Interfered with the Administration of
         Governmental Functions-Including Government Procurements-to Advance His
         Personal Agenda

         This bid protest does not occ1u- in a vacuum or on a blank slate. It takes place against the

backdrop of President Trump's repeated intervention in the full spectmm of governmental

functions to make a point to his perceived critics or to advance some personal agenda. In just the

procurement space alone, President Tnnnp has interfered in a series of significant govenunent




 1
     The Com1 may rely on the extra-record evidence cited herein, which suppo11s requests for
     supplementation where there are allegations of bad faith and bias. See Beta Ana~ytics Int'!,
     Inc. v. United States, 61 Fed. Cl. 223,226 (2004) (''[A] party may rely on extra-record evidence
     to support its claim that discove1y regarding bad faith conduct is necessaiy.").


                                                   3
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contract awards. For example, liis role in the U.S. Anny Corps of Engineers' award of a $400

million border wall constmction contract to Fisher Industries in December 2019 has raised serious

concerns a bout the propriety of that procurement decision. Although the Army initially fotmd that

Fisher Indn tries' proposal failed to even meet specifications for the construction contract, after a

months-long campaign by Fisher Industries (including repeated television appearances on Fox

News targeted to President Trump), President Tromp stated that Fisher Industries had been

"recommended strongly" for the contract and "immediately brought up Fisher [Industries]" during

meetings with DoD officials regarding the border wall. See Appendix ("APP") 399; APP 413.

Soon after, the Army awarded a $400 million border wall construction contract to Fisher

Industries-a decision ti1at prompted the DoD Inspector General to investigate "the possibility of

inappropriate influence" on the contracting decision." APP 482.

        Similarly President Trnmp reportedly intervened in the General Services Administration's

("GSA") solicitation of bids to move the Federal Bureau of Investigation's headquarters away

from the nearby Trump futemational Hotel in downtown Washington, D.C., to a new consolidated

campus in suburban Maryland or Virginia. Preparations for the move had been underway for

nearly a decade and GSA appeared poised to 1u10ounce its award. However, following several

meetings with the President and White House officials, GSA and the FBI announced that FBI

headquaI1ers would in fact remain at its current site, effectively eusw-.ing that the site would not be

redeveloped by potential competitors to the Trump International Hotel.              While the GSA

Administrator had testified to Congress that the decision to remain at its current location "came

from the FBI," a GSA Inspector General investigation later concluded that this testimony was

"incomplete and may have left the misleading impression tliat she had no discussions with the

President or senior White House officials in the decision-making process about the project."




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APP 323.      The GSA Inspector General's investigation also identified nonpublic emails that

referenced «what POTUS directed everyone to do" and "POTUS's orders" regarding the project.

APP 312. The Department of Justice fuspector General has launched its own investigation into

President Trnmp's interference in the FBI headquarters consolidation project. See APP507.

         This pattern of interference extends beyond procurements, and the parallels are clear. In

another very public example, President Trump has gone to extraordinaiy lengths to attack CNN, a

news outlet that, like the Washington Post, President Trump perceives as hostile toward his

Administration and political views. First, he pushed to block a merger between CNN's parent

company (Time Warner) and AT&T, which before President Trump was elected, was well on its

way to obtaining clearance from the DOJ. See APP 269-71. 2 But soon after President Tmmp

entered office-and reportedly at President Trnmp's request-the Department of Justice reversed

its position, eventually filing suit to block the merger that it previously said it was prepared to

support. 3 The courts ultimately rejected the lawsuit and allowed the merger to close. See United

States v. AT&T, 916 F.3d 1029 (D.C. Cir. 2019); U11Ued States v. AT&T, 310 F. Supp. 3d 161

(D.D.C. 2018).

         Second, in November 2018, the Trump White House and Secret Service abmptly revoked

the press credential of CNN's Chief White House c.orrespondent Jim Acosta just hours after a



 2
     Experts long believed that the merger would easily receive govemuient approval. APP 235.
     Even President Trnmp's foture head of the DOJ Antitrnst Division, Makan Delrahim, believed
     that the merger did not pose "a major antitmst problem." APP 230; see also APP 239.
 3
     APP 388 ("[I]n the late summer of 2017, a few months before the Justice Department filed
     suit, Tnunp ordered Ga1y Cohn, then the director of the National Economic Council, to
     pressure the Justice Department to intervene. According to a well-informed source, Trump
     called Cohn into the Oval Office along with John Kelly, who had just become the chief of staff:
     and said in exasperation to Kelly, 'I've been telling Cohn to get this lawsuit filed and nothing's
     happened! I've mentioned it fifty times. And nothing's happened. I want to make sure it's
     filed. I want that deal blocked!'").


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contentious press conference, during which President Tnnnp called the reporter a "mde, terrible

person" and accused him of "report[ing] fake news." APP 344---45. The press credential was

restored only after CNN sued President Tnunp and other officials in his Admiuistration and a

federal court ordered the immediate restoration of Acosta's credential.         See APP 36~4.

Rebuffed but undeterred by the courts, the President then called for a boycott of AT&T in attempt

to force CNN to change its reporting. See APP 418.

        Finally, this bid protest also occurs against the background of impeachment- the third in

the history of the United States, and which is grounded in the President's repeated refusal to

separate his personal interests from the national interest. Even though all of the relevant, high-

level officials from DoD and the White House--including Secretary of Defense Esper, Secretary

of State Mike Pompeo, and then-National Security Advisor John Bolton-believed that providing

military aid to Ukraine in its fight against Russian-backed separatists was critically important to

U.S. national security. see APP 499, President Trump nonetheless gave "[c]lear direction ... to

continue to hold" the congressionally mandated aid, reportedly in order to persuade the President

of Ukraine to investigate one of President Tnunp's political rivals, APP 483. And while President

Trump's subordinates initially resisted bis demands, they ultimately gave in and were forced to

develop dubious legal and post-hoc justifications for withholding the aid. See generally APP 484-

98. Government officials confinned they did not "fe[el] they could" stop the President, and those

that did try to stop him were removed from relevant positions or from government altogether.

APP 455. 4




 4
     In yet another public example-and one again involving Secretaiy Esper-President Tmmp's
     intervention in the case of Chief Petty Officer Edward Gallagher further shows the risk to
     government officials who disagree with him. President Trnmp ovem.1led the judgment of top



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         The JEDI procurement took place in the midst of this pattern of Presidential interference,

which in the absence of any other facts would, at the very least, prompt questions about the

regularity of the high-profile JEDI procmement.

B.       President Trump's Long-Standing Hostility Towards Amazon and Mr. Bezos and the
         President's Efforts to Influence the JEDI Contract Award Process

         But there are more facts. President Trump's personal dislike of Mr. Bezos, Amazon, and

the Washington Post (which is owned by Mr. Bezos) is no secret, and originates at least in pat1

from his dissatisfaction with the Washi11gto11 Post's coverage of him from before and since he

assumed office. See Compl. ,i,i 15-21, 84---86. Long before the inception of the JEDI source

selection process, President Trump regularly lashed out against the Washi11gton Post and over

time has extended his attacks to Mr. Bezos and Amazon, often conflating the three. For example,

in late December 2015, he publicly complained that the Washington Post gave Mr. Bezos ''power

to screw (the] public," and that he hoped Amazon "would crumble [sic] like a paper bag." Id. ,r 84;

APP 002; APP 003. When then-candidate Tnunp made his foray into the political sphere, he made

clear that if he became President he would use his power to disadvantage Amazon and the

Washington Post: "[B]elieve me, ifl become president, oh do they have problems. They're going

to have such problems." Compl.     iM! 16, 84; APP 005.




     Navy officials who called for an administrative review board to decide whether Gallagher
     should be expelled from the Navy SEALs for his alleged misconduct. See APP 463. After
     then-Secretary of the Navy Richard Spencer raised concerns about President Trump's
     interference in internal military disciplinaty affairs, President Tmmp instructed SecTetmy of
     Defense Esper to demand Spencer's resignation. Secretary Esper obeyed President Trnmp's
     directive, explaining that regnrdless of how he felt about President Trnmp's actions, "[t]he
     president is the commander in chief," that the President "has eve1y right, authority and
     privilege to do what he wants to do," and that he would "[a ]bsolutely" follow the President's
     directives. APP 474-75.


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       By the time DoD launched its search for a cloud services provider to fulfill the JEDI

Contract, the President-emboldened by allies who also were Amazon's competitors-put A WS

in the crosshairs of his campaign against Mr. Bezos and Amazon by deliberately influencing

DoD's procmement decision. For instance, in early 2018, President Trump held a private dinner

with Safra Catz, co-CEO of AWS-competitor Oracle and a member of President Trump's

presidential transition team. Doong that dinner, Ms. Catz advocated against awarding A WS the

JEDI Contract. Compl. ,i 88; APP 084; APP 218. In the days surro1mding his dinner with Ms.

Catz, President Tmmp increased his negative public rhetoric toward Amazon. Compl. ,i 89;

APP 017; APP 020; APP 021.

       Similarly, it was reported in April 2018 that President Tnunp discussed with his advisors

ways to "escalate his Twitter attacks on Am~on to further damage the company," with advisors

 tating that "[Pxesident Trnmp]'s obsessed with Bezos" and that "Tmmp is like, how can I fl'*k

with [Mr. Bezos]?" Comp1.    ,r 90; APP O19.   So President Tmmp 's advisors encomaged him to

"cancel Amazon's pending multi-billion contract with the Pentagon to provide cloud computing

services." APP 019. President Tnunp's discussions with Ms. Catz audhis advisors culminated in

the summer of 2018, when he ordered his then-Secretary of Defense James Mattis to "screw

Amazon" out of the JEDI Contract. Comp1. ,Ml 19, 9 I; APP 069. But after Secretaiy Mattis

demurred, President Trump fired him six months later-a predictable move given the parade of

individuals, like Secretary Mattis, who were forced from their positions after disagreeing with the

President. CompL   ,r,r 21, 91; APP 043.
       Against this backdrop, during a July 18, 2019 press conference, President Trump

allllounced that he was looking "ve1y seriously" into the JEDI procurement (which he mistakenly

referred to as "The Amazon" process) and that be "w[ ould] be asking [DoD] to look at it very




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closely" because of supposed "complaints about the contract with the Pentagon and with Amazon."

Campi.   ,r 95; APP 059.   That same day, President Tmmp's son alleged in a tweet that Mr. Bezos

and Amazon had engaged in "shady and potentially conupt practfoes," and he ominously predicted

that it "may come back to bite them" with respect to the JEDI Contract-a sentiment that President

Tmmp echoed a few days later on July 22, 2019, when he retweeted television coverage decrying

the JEDI Contract as the "Bezos Bailout." Compl. ,Mi 96-97; APP 062; APP 079; see also

APP200.

         Twitter-President Trump's preferred tool for broadcasting his directives, and which are

considered official White House statements 5-was not the only means by which President TlUillp

injected his bias and influence into the JEDI award process. President Tmmp also exerted his

influence over DoD political appointees overseeing the JEDI procurement, who serve at his

pleasure and facilitated his improper influence over the JEDI procurement personnel.

         Secretary of Defense Esper is one such official. Appointed by President Trump and

replacing ousted Secretary Mattis in July 2019, Secretaiy Esper has recently reiterated his

commitment to the President, stating his belief that as Commander in Chief, the President "has

every right, authority and privilege to do what he wants to do," and that he would "[a]bsolutely"

follow whatever the President told him to do. See infra, pp. 21-22; APP 474--75. And as Secretary

of Defense, Secretary Esper has direct authority over DoD's Chief Infmmation Officer, who is




5   See APP 233 (White Honse Press Secretary Sean Spicer stating that President Trump's tweets
    are "considered official statements by the President of the United States"); APP 432 (reporting
    that President Trump told two senior advisors that "[i]f I don't tweet it, don't listen to my
    staff'). See also Knight First Amendment Inst. at Columbia Univ. v. Trump, 928 F.3d 2~6, 236
    (2d Cir. 2019) (noting that "the President ... acts in an official capa'city when he tweets").



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responsible for running the JEDI procurement through the Defense Digital Service ("DDS,,). See

AR Tab 25 at 476.

        On August I, 2019, Secretary Esper announced tl1at he would be talcing a "hard look" at

the JEDI procurement after "hear[in°] from folks in the administration." Compl. ,r 176; APP 083. 6

The following day, Secretary Esper continued that he had "heard from people from the White

House" that he should take a "good, tl1oro11gh look,, at the JEDI procurement, adding that he would

potentially "go in a different direction" from "what has transpired over the last ... mouths or years

on this project." APP 100. Consistent with Secretary Esper's comments, DoD later confirmed

that "[n]o decision w[ould] be made on the [JEDI] program until [Secretary Esper] has completed

his examination"--even though just days earlier, a DoD spokesperson had told repo1ters that DoD

would be awarding the JEDI Contract in August. Compl.           ,r   175; APP 088; APP 217. After

Secretary Esper's allllmmcement that he would personally intervene in the JEDI proposal

evaluation process, Donald Trump, Jr., publicly hinted that A WS w nld not be the awardee,

tweeting that "the democrats ai·en't buying the BS coming from Bezos Inc." and that it "[s]ounds

like the corrupt #BezosBailout is in trouble." Compl. ,i 177; APP 105--06.

        Although at least two senators urged Secretary Esper "to resist political pressures that

might negatively affect the implementation of sound acquisition practices and of the cloud

strategy" those concerns appear to have gone unheeded. See APP 201. Public records indicate

that Secretary Esper met with President Trump at least six times from August I to Octobe1· 8, 2019.

APP 213-16; APP 229; APP 499. Additionally, the AR shows that Secreta1y Esper met with




 6
     Behind the scenes, Secretmy Esper's review of JEDI had in fact already begm1, including in a
     one-on-one "Read Al1ead" meeting with the DoD Chief Infonnatiou Officer on July 29. See
     AR Tab 335 (Read A11ead for July 29, 2019 Infonnatiou Session "SD/CIO lv l meeting").
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procurement personnel tasked with evaluating the JEDI proposals during a series of at least five

"informational sessions" from July to September 2019. See AR Tabs 335, 439, 440, 453, 462.

TI1e AR omits c1itical information and includes only linrited documentation surrounding these

"infonuational sessions." But what little has been provided demonstrates that, contrary to DoD

Chieflnformation Officer Dana Deasy's congressional testimony, the procurement officia]s were

not in fact shielded from the President's influence. 7 To the contrary, at ]east four of Secretary

Esper's "inforn1ation sessions" were attended by, and the "read aheads" for those briefings

prepared by, the chair of the Source Selection Evaluation Board ("SSEB"),                     See

AR Tabs 335, 439, 440, 453.

        The close contact between Secretary Esper and the SSEB Chairperson -                    1s

particularly concerning. As the sole person comprising the SSEB, -              had considerable

responsibility in the procurement process. - w a s tasked with "summariz[ing] the findings

of' the Technical Evaluation Board responsible for evaluating the technical elements of each of

the offerors' proposals, interfacing between the technical evaluators and the Source Selection

Advisory Committee ("SSAC") and Source Selection Authority ("SSA"), and preparing the SSEB

Report, upon which the SSAC relied on "to provide an award recommendation to the SSA." AR

Tab 305 at 64344-45.      In short, -           had the ability to directly influence the award




7
    During an October 29, 2019, Senate confirmation hearing, Senators Jack Reed and Angus
    King-members of the Senate Armed Services Committee-asked Mr. Deasy about whether
    the White House had tried to influence the JEDI award. APP 145-47; APP 180-81. When
    Senator King asked .Mr. Deasy if he could "categorically assure us that there was no influence
    by the White House or the President," :Mr. Deasy equivocated, explaining only that he did not
    believe the "team members tlrnt actually took the source selection" were influenced by the
    White House and noting that he did not share with the Secreta1y or CIO "any proprietary source
    information." APP 180. Of course, no sharing of source selection information is necessmy if
    the directive from above is to not award the contrnct to one offeror.



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recommendation of the SSAC to the SSA. And here, -                     participated personally in

meetings with the Secretary of Defense during the period that President Tmmp was directing him

to take a "hard look" at the JEDI procurement to fmtuer his personal and political bias against

Amazon.

         The timing of -              meetings with Secretary Esper aligns strikingly with the

execution of his sow-ce selection responsibilities. After participating in a meeting with Secretary

Esper on September 26, -            prepared his Summary Report to the SSAC on September 27

(though the document was not signed until October 3). See AR Tab 453; AR Tab 456 at 176395.

And notably, while the majority ofthe technical factors had been evaluated by the respective factor

Technical Evaluation Boards between September 11 to 13, the TEB did not issue evaluations for

Factor 2 (the technical factor to be afforded the most weight under the solicitation criteria) for

Microsoft until September 26, and for A WS until September 2 1 - a f t e r - meetings with

Secretary Esper. AR Tabs 441-52. The SSEB Report reflected numerous errors which were only

compounded upon the later review and partial adoption of the Report by the SSAC. The SSEB

Chair briefed the SSAC on bis evaluation on September 30 (AR Tab 457 at 176396), and the SSAC

met from September 30 through October 3 before issuing the award recommendation to the SSA

on October 3 (id. at 176407).

C.       The Unusual Circumstances Surrounding DoD's Award of the JEDI Contract to
         Microsoft

         Barely three m nth after President Trump called for DoD to "look ... very closely" into

complaints about AWS's proposal and Secreta1y Esper's announcement that he would be

"examining" the process, the SSA signed a Source Selection Decision Document on October 17,

2019, concluding that Microsoft's proposal represented the "best value" to the Govenunent.

Compl.   ,r 186.


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         DoD waited more than one week before it publicly announced its awai·d decision. During

this interim period, DoD announced on October 22, 2019, that Secretary Esper was recusing

himself from the JEDI procurement process because of an alleged personal conflict of interest

relating to his son's preexisting employment with IBM-an offeror no longer in the mnning for

the JEDI award. Compl. if130, 187; APP 110-11. In the announcement, DoD further stated that

"[t]he JEDI procurement will continue to move to selection through the normal acquisition process

run by career acqnisition professionals." APP 110.

         Secretaiy Esper's recusal was unusual and suspect for at least two reasons. First, Secretary

Esper had actually submitted a memorandum recusing himself from the review of the JEDI

acquisition on October 7, 2019-months after having followed President Trump's request to

investigate the JEDI procurement process, several days after the SSAC had issued its

recommendation to the SSA to award the contract to Microsoft, and after Secretaiy Esper had met

with procurement persom1el tasked with conducting the analyses undeJlying this recommendation.

See AR Tab 458. Notably, the recusal memorandum was hat1d-dated (suggesting it had been

prepared earlier but purposely not dated) and did not specify a reason for the recusal other than

"au abundance of caution and to avoid any concerns regarding my impartiality." Id. 8 Second,

even though the SSA had already signed the Source Selection Decision Document five days earlier




 8
     Secretaiy Esper's rectisal memorandmn is in stark contrast to the recusal memorandum filed
     days earlier by another senior DoD official, Principal Deputy Assistance Secretruy of Defense,
     Acquisition Enablers Stacy Cmmnings, who specified in her "Disqualification Statement"-
     submitted after nearly two months of substantive euga ement on the JEDI procurement-that
     she had                                                                  AR Tab 454 at 176346.
     Secreta1y E per licl not chara terize the ba J f r hi re 11 al as a 'covered relationship" with
     IBM, likely because his adult son's employment wit11 IBM does not require recusal. See 18
     U.S.C. § 208 (requiring government employees to refrain from paiticipating in matters in
     which "he, his spouse, [or] minor child ... has a financial interest." (emphasis added)).


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(on October 17), by stating the procm m nt "will continue to move to selection," DoD's October

22 aanouncement regarding Secreta1y Esper' s recusal falsely suggested to the public that the award

decision had not yet been made.

          On October 25, 2019, lJoD publicly announced its award-in fact, made more than a week

earlier-of the JEDI Contract to Microsoft, much to the shock of indushy analysts and experts

who had long considered AWS the frontmnner for the award. See Comp!. fl 31, 188.

D.        AWS Files Bid Protest After DoD Fails to Respond to AWS's Debriefing Questions
          in Violation of Procurement Law

          DoD provided A WS a written debriefing that detailed the evaluation results. In response

to that debriefing, A WS timely submitted numerous detailed written deb1iefing questions pursuru1t

to 10 U.S.C. § 2305(b)(5), to better understand how DoD reached its award decision. This is a

fundamental element of the procurement process.9 But in blatant violation of applicable law, DoD

did not provide a substantive response to any of A WS 's debriefing questions. See Compl. fl 189-

91.

          AWS filed its bid protest Complaint on November 22, 2019, to challenge DoD's decision

to award the JEDI Contract to Microsoft. A WS 's Complaint includes seven counts that challenge

the substance of DoD's decision (Counts 1-4 and 6-7) and alleges bias and bad faith (Count 5).

DoD produced the AR on January 3, 2020. Despite the Court's December 13, 2019 Order, which

required DoD to "include all materials developed and considered by the government in making its




 9
      See 10 U.S.C. § 2305(b)(5) (requiring debriefings to include, at a minimum, "reasonable
      responses to relevant questions posed by the debriefed offeror as to whether source selection
      procedures set forth in the solicitation, applicable regulations, and other applicable authorities
      were followed by the agency; and [] au opportunity for a disappointed offeror to submit ...
      additional questions related to the debriefing," and requiring DoD to "respond in writing to
      ru1y additional question submitted ... within five business days after receipt of the question");
      see also 48 C.F.R. § 15.506(a).


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award decision," inch1ding "any informal documents reflecting factors considered in the agency's

decision-making process, such as email colll1llm1ications and coOllllun:ications made through Slack

channels and the like," (Dkt. 55 at 2), the AR contains vezy few such informal materials. Rather,

the Gov mroent included in the AR only a highly curated set of Slack communications from a

narrow time period from before AWS had even submitted its initial proposal. The government

produced nothing in tem1s of internal c01mnm1ications from the period in which DoD procurement

officials were evaluating the offerors' proposals. Similarly, the Government included only internal

email exchanges related to the Cont.meting Officer's Procurement Integrity Act/Organizational

Conflict of Interest investigations into DoD employees who later sought employment with A WS.

It produced none of the internal DoD emails related to the actual JEDI procurement decision.

                                        LEGAL STANDARD

         Toe AR hould be supplemented if the "omission of extra-record evidence precludes

effective judicial review." Axiom Res. Mgmt., Inc. v. United States, 564- F.3d 1374, 1380 (Fed.

Cir. 2009). Where a case involves an allegation of bias or bad faith, the "administrative record

frequently will not be complete or suffice to prove or disprove the allegation." Pitney Bowes Gov 't

Sols., Inc. v. United States, 93 Fed. Cl. 327, 332 (2010). 10 Because such "well grounded

allegations of bad faith and bias are serious allegations which cannot be rebutted within the

confines of the existing Administrative Record, supplementation is warranted to give Plaintiff an

opp0111inity to prove such allegations." L-3 Commc'ns Integrated ,Sys., L.P. v. United States, 91

Fed. Cl. 347, 354 (2010) (internal quotation marks and citation omitted); see also Dep't of




10
     See also Beta A,w~vlics Int'!, 61 Fed. Cl. at 226 ("[R]are indeed would be the occasions when
     evidence of bad faith will be placed in an administrative record."); Inf'l Res. Recovery', Inc. v.
     United States, 61 Fed. CL 38, 41-42 (2004) ("Allegations of bias, prejudice and bad faith ...
     cannot be subsumed within the record of a challenged award decision.").


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Commercev. New York, 139 S. Ct. 2551, 2573-74 (2019) (affinning lowercom1's granling "extra-

record discovery" in administrative challenge to action by Trump Administration's Department of

Commerce, holding that extra-record discovery was "ultimately justified" upon a "strnng showing

of bad faith or improper behavior").

       Accor ingly, "the record may be supplemented with (and through discovery a party may

seek) relevant infonnation that by its very nature would not be found in an agency record-such

as evidence of bad faith."' Orion Int'/ Techs. v. United States, 60 Fed. Cl. 338, 343 (2004); see

also Int'/ Res. Recovery, 61 Fed. CL at 42 (collecting cases) ("This Court and other fora resolving

bid protests have traditionally considered extra-record evidence in assessing alleged bias or bad

faith."). Such supplementation is especially important where there is an "appearance of bias,"

because a "full scale administrative record" can "dispel any doubts about the true nature of (the

agency's] action." AZX, Inc. v. Dep't ofTransp., 41 F.3d 1522, 1528 (D.C. Cir. 1994).

       To supplement the AR, a bid pr testor need only make "allegations [that] appear to be

sufficiently well grounded." L-3 Commc'ns Integrated Sys., 91 Fed. Cl. at 355; see also Pitney

Bowes Gov 't Sols., 93 Fed. CL at 332 ("The test for supplementation is whether there are sufficient

well-grounded allegations of bias to suppo11 [supplementation]."). At the supplementation stage,

a protestor does not need to establish the "clear and convincing evidence of bad faith or bias" that

is necessary "to prevail on the merits." L-3 Commc'ns Integrated         S:vs., 91   Fed. Cl. at 355.

Additionally, a protestor is "entitled to investigate bias" through discove1y-including document

requests, intenogat01ies, and depositions-and to supplement the AR where the protestor has

made a "credible allegation" that the decision-makers had a motivation to act in bad faith, or whose

conduct otl1e1wise is "hard to explain absent bad faith." Starry Assocs., Inc v. Un;Jed States , 125

Fed. Cl. 613 , 622- 23 (2015) ; L-3 Commc'ns I11tegmted S:vs., 91 Fed. Cl. at 355 . A party seeking




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discovery need only demonstrate that the requested discovery "could lead to evidence which would

provide the level ofproofrequired to overcome the presumption ofregularity and good faith," and

"may rely on extra-record evidence" to support its request. Beta Anazvtics Int 'I, 61 Fed. Cl. at 226

(emphasis added).

                                           ARGUMENT

        The need to supplement the AR in this case is clear. A WS 's allegations of bad faith and

bias are more than "sufficiently well grounded" to warrant supplementation: they are based on

public statements that establish the President's unequivocal bias again t AWS and show how the

President took affinnative steps to instruct his subordinates-in both private and public fora-to

interfere with DoD's procurement decision. The allegations also establish how those instmctions

manifested in an award of the JEDI Contract to an objectively inferior competitor. The limited

documentation in the AR ( even though the AR is deficient) serves to bolster what the public record

alluded to: that the Source Selection Team was influenced by the President's bias, which was

colllllltmicated through the chain of command during a series of meetings that took place during

the crucial final proposal evaluation stage of the procurement.

        But the public record and AR are not sufficient and cannot folly explain DoD's pervasive

and compounding evaluation e1rnrs, nor its shift toward Microsoft and against A WS d111ing the

eleventh hour of the evaluation pe1-iod. Indeed, because com1s have recognized that evidence

relating to bias and bad faith are unlikely to be included in the Government's AR (see supra, p. 15

n. l 0), A WS must be given "an oppo11unity to prove [its] allegations" through supplementation.

L-3 Commc '11s Integrated S:vs., 91 Fed. Cl. at 354.      Moreover, in light of AWS's credible

allegations of bias and bad faith, A WS is "entitled to investigate [this] bias» through targeted

discove1y that will permit the foll and fair adjudication of these claims. Stany Assocs., 125 Fed.

Cl. at 622.


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A.     AWS Has Made Well-Grounded Allegations of Bias and Bad Faith that Require
       Supplementation of the Administrative Record

       As an initial matter, the evidence of President Trump's animosity towards AWS-

iucluding in connection with the JEDI procurement process-is alone sufficient to wanant

supplementation of the AR. At this preliminary stage, to supplement the AR, AWS need not

"establish clear and convincing evidence of bad faith or bias to prevail on the merits." L-3

Commc'ns Integrated Sys., 91 Fed. CL at 355. Rather, a "lesser showing suffices-that the

allegations appem· to be sufficiently well grounded" and supported by a "reasonable factual

predicate." Id. (internal quotation marks omitted). AWS's allegations-including regarding the

specific, incontrovertible public examples of the Commander in Chief's bias and effot1s to

influence DoD's JEDI award-are well- ·on.oded examples of bias at the very highest levels of

authority within the Government and provide a strong factual predicate for A WS 's claims.

       But the bias did not end with President Tmmp, and AWS's allegations further provide a

more-than-reasonable factual predicate for how his bias ultimately affected tl1e officials charged

with carrying out the procurement decision. The existing AR supports AWS's allegations of bias

and how that bias infected the procurement- for example, it links the "who" (Secretaiy Esper and

-            the sole member of the SSEB), the "what" (discussions concerning the JEDI

procurement), the "where" (in a series of meetin s at the Pentagon), the "when" (following

President Trump's July 2019 directive that Secretary Esper review the JEDI acquisition based on

his anti-Amazon bias), and the "why" (the last minute erroneous evaluation detenninations by the

SSEB and SSAC can only be explained by the relaying of President Trnmp's directive to not award

the contract to A WS).    "The presumption that government officials act in good faith ... is

rebuttable and not automatically accepted." Palantir USG, Inc. v. United States, 129 Fed. Cl. 218 ,

244-45 (2016). To overcome this presumption, a protester simply must allege facts establishing



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"a motivation for the Government employee in question to have acted in bad faith," or otheiwise

show "conduct that is hard to explain absent bad faith." Beta A11alytics Int'!, 61 Fed. Cl. at 226.

Here, A WS 'swell- rounded allegations and the :information gleaned from the existing AR do both.

        1.      The President,s Overt Bias I11fecled DoD Officials' Decisions and Motivated
                Them to Act i11 Bad F aith.

        Although A WS is not yet privy to all the specific internal maneuverings that took place

within DoD regai·ding the JEDI award, A WS has made specific and concrete allegations that

demonstrate the President's deep bias against Amazon. These include allegations about how the

President affected the senior political appointees overseeing DoD and its procurement functions

and how he pressmed DoD decision-makers at all levels to award the JEDI Contract to a competitor

whose proposal was inferior to A WS's proposal on the majority of the evaluation factors-all of

which show how DoD's award did not present the best value to the Government. See BnyF;1•st

Sols., LLC v. United States, 102 Fed. CL 677, 694 (2012) ("A tradeoff analysis based on

significantly flawed evaluation ratings is itself irrational.").

       Com1s have recognized that motivation to act in bad faith exists where a superior "exert[s]

influence to guide the award," such as by "ma[king] known [a] preference for one offeror." Starry

Assocs., 125 Fed. CL at 616, 623; see also 48 C.F.R. § 3.401 (defining "improper influence" in

context of contingent fees as "a11y influence that induces or tends to induce a Government

employee or officer to give consideration or to act regarding a Government contract on any basis

other than the merits of the matter" (emphasis added)). For example, one federal court found

improper influence when civilian decision-makers were "made to know that a favorable decision

would be pleasing, and an unfavorable decision displeasing, to persons in ve1y high governmental

brackets." Jarrort v. Scrivener, 225 F. Supp. 827, 834 (D.D.C 1964). As that court aptly explained:

where "officials possess vast power to bestow or not to bestow benefits of various kinds upon



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subordinate employees," "the pressures were neve11heless real"--even if "[t]he pressures were not

crudely or indelicately exerted," "(t]here was no threat or command," and "[t]here was no promise

of reward." Id.

        President Trnmp's open bias against Amazon is a textbook e.xample of such improper

influence. As recow1ted above and further in A WS 's Complaint, President Trump wields vast

power over DoD and its employees, and his overt and public outbursts against Mr. Bezos and

Amazon "made known" to all-including DoD officials and decision-makers in the SSA, SSAC,

and SSEB--"his preference" that A WS not secure the JEDI Contract. Starry Assocs., 125 Fed.

Cl. at 623. In these circumstances, even absent a specific "threat" or '"promise of reward," such

pressures are "nevertheless real." Jarratt, 225 F. Supp. at 834.

        Moreover, President Tmmp exerted his influence by overtly intervening in DoD's

procurement functions on multiple occasions. In the tunmer of 2018, he ordered his then-

Secretary of Defense Jim Mattis to "screw Amazon" out of the JEDI Contract. Campi. ,Mi 19, 91;

APP 069. Unable to convince Secretary Mattis to do his bidding, President Trump replaced

Se retary Mattis just mouths later with Mark Esper, and declared during a July 2019 press

conference that he "w[ ould] be asking [DoD] to look at [tl1e JEDI Conh·act] very closely" because

of "tremendous complaints about the contract with the Pentagon and with Amazon." Compl.

,r,i 20, 95; APP 059.   The President later retweeted a news video decrying the JEDI Contract as the

"Bezos Bailout," Compl. ,r 97; APP 062; APP 200, and his sou, Donald Tmrnp, Jr., suddenly began

calling Mr. Bezos "No Bid Bezos" on Twitter, Compl.       ,r 96; APP 079.   These public instrnctions

to Secretary Esper were likely repeated in off-the-record instructions, which could have occtUTed




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at any one of the many meetings between President Trump and Secretary Esper in the summer and

early fall of2019. 11

         The President's statements were not lost on Secretary Esper. His abmpt Aug1 t 1, 2019

decision-consistent with President Tmmp's instrnction to "look ... ve1y closely" into the JEDI

procurement-to reverse course and delay the award decision so that he could talce a "hard look"

at the JEDI award process also is compelling evidence that President Trump's bias actually and

irrevocably tainted the procurement process. See, e.g., L-3 Com me 'ns Integrated Sys., 9 l Fed. Cl

at 356 (holding that an unexplained "change[] [in] ratings" to affect a "selection decision" gives

rise to a "sufficiently well grounded" allegation of bias warranting supplementation); see also

Connecticut v. Dep 't ofIlllerior, 363 F. Supp. 3d 45, 64-65 (D.D.C. 2019) (acknowledging that a

"sudden[] re ers[ al of] course creates the plausible inference that political pressure may have

caused the agency to take action it was not otheiwise planning to take"); ATX, 41 F .3d at 1529 ("If

the decision maker were suddenly to reverse course or reach a weakly-supported delennination ...

we might infer that pressure did influence the fmal decision.").

        Secreta1y Esper has since confinned his unwavering cornmibnent to carr ing out the

President's preferences, stating his be1ief that "the president is the commander in chief' who has

"every right, authority and privilege to do what he wants to do," and that he "absolutely" follows

the President's instructions. APP 474-75.     TI1e inference is clear-Secretary Esper followed




11
     See, e.g., APP 211-16 (identifying meetings occuning between President Trnmp and Secreta1y
     Esper on July 23, July 25, August 1, September 3, September 13, and October 1, 2019);
     APP 204 (reporting on meeting between Secretaiy Esper and President Tnnnp in Jm1e 2019);
     APP 499 (repotiing on previously undisclosed meeting between Secretary Esper, President
     Trnmp, and others); APP 229 (Secreta1y Esper October 8, 2019 tweet: "Tiumk you @POTUS
     & @FLOTUS for hosting me & @DeptofDefense leadership for dinner yesterday at the
     @WhiteHouse").


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President Tmmp's clear directives by inte1vening at the eleventh hour to halt the award when it

appeared imminent that A WS was likely to win the JEDI Contract. hldeed, this Collli has

previously recognized that a credible allegation of bad faith arises when an "official step[s] in to

cancel a solicitation" when it appears the company the official favored would not win tlie award

Starry Assocs., 125 Fed. Cl. at 623.

          The AR provides additional-but insufficient-detail on some of the opportunities

Secretary Esper had to ensure that hi1> orders from President Trump were carried out by the

procurement officials charged with evaluating Microsoft's and AWS's proposals. In a series of

meetings between when the President ordered Secretary Esper to "review" the acquisition in late

July 2019, through the crucial period involving evaluation of the offerors' final proposals in late

September 2019, Secretary Esper met on at least three occasions w i t l _ , the sole member

of the SSEB-the part of the Source Selection Team responsible for "summariz[ing] the findings

of' the Technical Evaluation Boards and interfacing between the evaluation boards and the SSAC

and the SSA. AR Tab 305 at 64345.

          DoD's subsequent announcement of Secretary Esper's recusal from the JEDI procurement

process on October 22, 2019-ostensibly based on his adult son's employment with IBM, a fonner

offeror that was no longer in the rnnning for the award-only confitn1s the strong likelihood that

bias and bad faith man-ed the procurement process. Indeed, it was Secretary Esper himself who

ordered a delay in the JEDI award process in August 2019 so that he could take a "hard look" at

it-and then, only cifter he had ah·eady influenced the process did he recuse himself. See Compl.

1il 30,   187; APP 083; APP 110. The AR reveals that Secretaiy Esper recused himself stat1ing on

October 7-one week a f t e r - (with whom he had met on at least four separate occasions)




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briefed the SSAC, and four days aft.er the SSAC recommended award of the contract to Microsoft.

See AR Tabs 456, 457, 458.

       DoD's post hoc explanation that "(b]efore the review progressed to a discussion about the

way forward, the Secretary detennined that, though not legally required, he would recuse himself

from that decision[-]making process,,, raises fin1her concerns about the impropriety of the decision

-making process, where the ''way forward" had already been detennined by the time of the

Secretary's recusal. APP 187. And it remains highly unusual that DoD waited more than two

weeks to 8Illlounce the recusal--especially because DoD had already made its fonnal award

decision when the SSA signed the SSDD on October 17, and its public announcement of the award

was imminent. Additionally, DoD's official 8Illlouncement on October 22 regarding the recusal

stating that the "JEDI procurement will continue to move to selection through the normal

acquisition process," APP 110, is at best misleading, given that DoD had already internally made

its award decision five days earlier. The timing, circumstances, and announcement of Secretary

Esper's recusal raise more questions than they answer, and strongly suggest pretextual efforts by

DoD to attempt to cleanse the award process of taint.

       President Trump's bias did not end with the high-level DoD officials that he appointed.

The actual evaluators and decision,-makers at DoD-the SSA, SSAC, SSEB, PEB, SBEB, and

TEB--could not have missed the umnistakable public instrnctions from their Commander in Chief

to not award the JEDI Contract to A WS. See Jarrott, 225 F. Supp. at 834 (decision-makers "could

not fail to be aware that they would incur administrative displeasure if they" made a decision

considered "unfavorabl[e]" by those in the high governmental brackets). Even though DoD has

claimed tl1at these individuals were "anonymized," "segregated," and "compaitmentalized," these

assurances are in fact no assurance at all-the President's directives and biases were broadcast to




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the entire nation, including to evet}"one within DoD, through his official presidential statements

on Twitter, bis preferred platform for pronouncing policy. Moreover, the assurances were false,

as the SSEB Chairperson, _ , participated in meetings with the Secretary of Defense

during the same time p e r i o d - was responsible for evaluating AWS's and Microsoft's

proposals. Thus, even if President Trump and his senior DoD appointees did not know the

identities of the individuals tasked with evaluating the JEDI proposals (as DoD has claimed), there

is no question that the Commander in Chief's "preference for one offeror" was known to all, and

that this messag~and pressure--was exerted on decision-makers who then acted in accordance

with that message. See Starry Assocs., 125 Fed. CI. at 623.

        This Court has ordered extra-record supplementation in the face of far less egregious

allegations of bad faith. For example, in Starry Associates, this Comi granted supplementation

where the bidder had alleged that a supe1visor who was not involved in the procurement ''had a

hand" in selecting the officials overseeing the procurement and "stepped in" to pr ent the award.

125 Fed. Cl. at 622-23. So too here. President Trnmp "had a hand" in selecting the leadership

overseeing the JEDI procurement process, such as Secretary Esp r and DoD CIO Dana Deasy.

And President Trnmp repeatedly "stepped in" with clear statements meant to interfere with DoD 's

procurement functions, including his con1nllu1d to his Secretary of Defense to "screw Amazon,"

APP 069, bis admission that he was "looking very seriously" into the award, APP 059, and his

request for DoD "to look at [the award] very closely" because of "tremendous complaints about

the contract with the Pentagon and with Amazon," id.          A WS has more than sufficiently

demonstrated a well-grounded basis to supplement the record. See Beta Ana!vtics 111I '/, 61 Fed.

Cl. at 226.




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       2.      DoD's Award Decisio11 Ca1111ot Be Explained Absent Bad Faitlt.

       Even if there were any doubt as to how bias and bad faith infected DoD's procurement

process, the munerous significant and obvious errors in DoD's evaluation process are further

indicative of bad faith, as these errors cannot be squared with a reasoned and lawful decision-

making process. Taint manifests itself in various fonns, but one obvious way is through shoddy

analysis calculated to reach a predetennined outcome. DOD's evaluation is replete with these

kinds of errors, which pervaded nearly all ofDoD's evaluation factors, including but not limited

to the following:

       Factor 2 (Logical Isolation and Secure Data Transfer). Factor 2 required DoD to

evaluate the offerors' proposed approaches to logical isolation and secure data transfer, and was

afforded the most weight under the RFP evaluation criteria. The TEB




                                                              AR Tab 323 at 151129. The SSEB



                    AR Tab 456 at 176369. Because both offerors were               on the secure

data transfer component, the SSEB concluded that

                                             Id.    However, the SSAC

- c o n c l u d e d the offi rors' solutions for Factor 2 were equally valued, both downplaying

the benefits o f -

- ) and enoneously concluding                                                    AR Tab 457 at

176400-01. The SSAC's reasoning on both issues was flatly wrong from a technical perspective,

ignored the stated RFP requirements, and invented issues out of whole cloth. The SSA adopted

SSAC's explanations without analysis. AR Tab 459 at 176416.


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       Factor 3 (Tactical Edge). Factor 3 required DoD to evaluate the portability and capability

of the offerors' tactical edge devices (i.e., devices designed to be used in environments with limited

connectivity and storage availability). In deciding that neither proposal was superior, DoD

incorrectly stated A WS had




                             See AR Tab 324 at 151166. See also Compl. ,i'tl 2, 53-55, 122-31.



                                                                                   . AR Tab 324 at

151175-76; AR Tab 330 at 151290. DoD also improperly assessed



                                                             AR Tab 324 at 151169, 151171; AR

Tab 330 at 151278-84.

       Factor 5 (Application and Data Hosting and Portability). Factor 5 required DoD to

consider the offerors' approaches to application and data portability. In finding that Microsoft's

proposal was technically superior to AWS's proposal, the SSAC and SSA irrationally concluded

for the first time in October 20 l 9~ontrary to the earlier findings of the T E -



                                                                                       Compare AR

Tab 457 at 176402-03 , AR Tab 459 at 176416 (SSAC and SSA en-oneously concluding that ■



- " ) , 1vitl, AR Tab 309 at 67032 (

                               . Additionally, starting in August 2019, the evaluators began to




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inexplicably omit from their reports previously assessed strengths regarding AWS's -

                                                                   See Compl. ,n[ 7, 59--62, 140--

    52; see also AR Tab 212 at 58033, 58035.

          Factor 6 (Information Security and Access Controls). Factor 6 required DoD to

evaluate the offerors' program management approach, including whether they could offer

unclassified services in three physical data centers. By relying on a prior and long superseded

version of AWS's proposal, DoD incorrectly concluded AWS

                                                           . See AR Tab 327 at 151216 {TEB

concluding



See Compl. ,r,r 3, 63--64, 153-67; see also AR Tab 367 at 152595. Additionally, in August 2019,

the TEB dramatically upgraded its rating of Microsoft's proposal from



-               See AR Tab 456 at 176391-92; AR Tab 196 at 53811-82, 54018, 54469, 54472




          Fnctor 8 (Demonstration). Factor 8 required Microsoft to pass fow: live demonstration

tests.                                                                                 -



-             One of the tests required Microsoft to demonstrate its ability to scale se1vers

automatically-that is, to increase or decrease the number of se1vers available in response to the

changing volmne of requests being generated by the tests.




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                                   *       *       *       *       *

         These numerous and compounding errors (among many others) created a false parity with

Microsoft's technical capabilities, despite AWS's objectively superior technology and proposal.

There is simply no plausible explanation--other than bad faith and bias-for botching a

procur ment of this magnitude and importance. Before and after the JEDI award announcement,

countless industry observers voiced concern that the award decision was impermissibly tainted by

President Trump's influence. 12 And as set forth above, members of Congress echoed the same

concerns throughout the procurement process. See supra, pp. 10-11 & n.7. Effective judicial

review requires a complete record of that bad faith.

B.      The Court Should Supplement the Administrative Record with AWS's Evidence
        Relating to Bias and Bad Faith

         Supplementation is necessary for effective judicial review in this case because evidence of

President Trum.J)'S bias and its effect on DoD officials necessarily would not be-and in fact is

not--contained within DoD's record of the procmement The materials AWS seeks to add to the

AR are directly relevant to the allegations of bias and bad faith and necessary to the Court's




12
     See, e.g., APP 205 (noting that President Trump's "involvement would be an unusual Oval
     Office intervention"); APP 224 (repo1ting that President Trump's "inte1vention in a contract is
     considered to be rare, bringing a political taint to a contest that by law should be decided based
     on technical me1its and price alone").


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independent detennination of how these improper influences affected the JEDI procurement

process. Specifically, A WS requests supplementation for the following categories of materials:

   •   President Trump's Tweets and Other Statements About Amazon, Mr. Bezos, and the
       Washington Post (APP 001-072). These materials contain the direct statements made by
       President Trump, the Commander in Chief of the Anned Forces, and are therefore highly
       probative to show the origins of, motivation for, and existence of bias. These statements
       include a directive President Trump gave to his then-Secretary of Defense Mattis to "screw
       Amazon," APP 069; President Tmmp's tweets calling Mr. Bezos, Amazon, and the
       Washington Post "the true Enemy of the People!," "Jeff Bozo," and the "Amazon no-tax
       monopoly," APP 055; APP 052; APP 011; and statements that Amazon would "have
       problems" ifhe "bec[a]me president," APP 005, that he "can't let [Mr. Bezos] get away"
       with using "political power against {him]," APP 026, and that he would be looking ''very
       seriously" into the JEDI Contract award process following receipt of complaints from
       competitor about AWS, APP 059. These unfiltered statements-straight from the
       Commander in Chief himself, who has a penchant for making policy via Twitter (see supra
       p. 9 n.5)-are c1itically important to understanding the bias that penneated the procurement
       process from the top of the chain of command.

   •   Statements from Persons AfflUoted with President Trump and DoD Ofjicillls Regarding
       the JE,DJ Contract (APP 073-188). In addition to President Trump's own statements,
       there are other statements made by persons affiliated with President Trump, as weU as other
       high-level senior DoD officials, that show the effect of President Trump's animus against
       Amazon on the proctrrement. These statements include Secretary Esper's August 2019
       statements that he would be taking a "hard look" at the JEDI procurement because of what
       he had "heard from folks in the administration,'' APP 083, and "from people from the
       White House," APP 101, as well as Donald Tmrnp, Jr.'s tweets that the «corrupt
       #BezosBailout is in trouble," APP 106, and that "the shady and potentially conupt
       practices from @amazon and No Bid Bezos may come back to bite them,'' APP 079. As
       with President Trump,s own statements, these statements reflect the President's influence
       and c01rnborate the view that his personal animus towards Amazon tainted decision-
       makers within DoD.

   •   Materials Relatiflg to tlte JEDI Contract that President Tmmp, His Affiliates, and DoD
       Officials Saw (APP 189-202). The AR should also be supplemented with materials that
       President Tnunp and others within his clministration reviewed relating to the JEDI
       Contract, which are relevant to understanding the sources of the bias and bad faith, as well
       as the motivations of the President another decision-makers. For instance, the AR should
       be supplemented with the March 2018 New York Post advertisement, addressed to
       President Tnllilp, which read: "President Trump: Your Defense Department is set to award
       a no-bid, ten-year contract for all its IT infrastrncture to Administration-enemy JeffBezos'
       Amazon," APP 194, as well as a Fox News video segment, retweeted by President Trump,
       deriding the JEDI Contract as the "Bezos Bailout." APP 062; APP 200. Furthernmre, there
       are multiple letters from members of Congress, sent to senior DoD officials, that raise
       various concerns regarding the JEDI procurement process, thereby further conoborating



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         the well-founded allegations of impropriety in DoD's selection decision.            See, e.g.,
         APP 195; APP 197; APP 199; APP 201.

     •   Other Materials lllustrati11g the Fact a11d the Effect of President Trump's Bias and
         Influence Witltirt DoD and 011 tl,e JEDI Award Decision (APP 203-229). As described
         above, there are additional materials-including statements made by DoD officials and
         spokespersons (e.g., APP 217}-that directly bear on, and are evidence ot: the facts
         surrounding the bias and undue influence described in AWS's Complaint. These
         documents also contain materials evidencing the multiple private meetings that took place
         between President Trump and Secretary Esper (e.g., APP 211-16), which demonstrate a
         further avenue through which the President's bias was c01nm1micated to DoD at the highest
         levels of authority.

     •   Materials Illustrating the Fact and the Effect ofPresident Trump's Bias and Inj111ence
         Throughout the Government and Administration (APP 230-507). The AR should be
         supplemented with materials evidencing that President Tnnnp's intervention in the JEDI
         procurement is part of a larger pattern of behavior demonstrating his willingness to abuse
         his position for personal gain. As explained above, President Tnunp's previous
         interferences in governmental processes involving perceived political enemies (the First
         Amendment and antitrust cases involving CNN) and perceived political supporters (the
         Navy SEAL) demonstrate that governmental decision-makers consider presidential
         pressure in the execution of their duties, which is directly relevant to whether and to what
         extent the DoD procurement officials charged with the evaluation and award of JEDI
         responded to similar presidential pressure. See supra, pp. 3-7 (citing materials).

         These materials are necessary for the Court's assessment of AWS's claims of bias and bad

faith, which must consider "all circumstances sunounding the procmement." Galen 1\1ed. Assocs.,

Inc. v. United States, 369 F.3d 1324, 1332 (Fed. Cir. 2004) (internal quotation marks omitted).13

The Court should accordingly supplement the AR to reflect these materials.




13
     A WS need not establish, at this stage, all the bases for the admissibility of these materials.
     Rather, "[a ]ny oral or documentary evidence may be received" into the AR as long as they are
     "relevant, material, and tmrepetitious." L-3 Commc '11s Integrated .S:vs., 9 l Fed. Cl. at 356; see
     also Veg-Mix, Inc. v. Dep 't ofAgriculture, 832 F.2d 601,606 (D.C. Cir. 1987) (same); see olso
     New Dynamics Found. v. United States, 70 Fed. Cl. 782, 796-98 (2006) (pennitting
     supplementation of administrative record with hearsay and non-authenticated documents). In
     any event, the Government cannot seriously dispute the authenticity of these mate1ials-many
     of which are online, publicly accessible, and self-authenticating 1mder the Federnl Rules of
     Evidence (including, for example, as party-opponent admissions, official publications, and
     judicially noticeable facts), or which DoD actually relied on in reaching its decision. To the



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C.       The Court Should Grant AWS Leave to Supplement the Administrative Record with
         Targeted Discovery Regarding AWS's Bias and Undue Influence Claims

         The publicly available documents speak for themselves and constitute credible and

concrete evidence of bias and bad faith. AWS's allegations are more than sufficient to meet the

legal thresholds to overcome the presumption of good faith and to obtain discovery. See supra,

pp. 18-28. But it would be narve to believe that what has been curated by the Government for

public consmnption, or the particular anti-Amazon sentiments President Trump happened to tweet,

are sufficient to paint a full picture of the bias and undue influence that affected the JEDI

procurement, or that such information represents the full extent of the President's communications

to DoD regarding the JEDI Contract. Similarly, the existing AR is insufficient to demonstrate

what transpired between Secretary Esper and the SS ~ B Chairperson, -                 during several

briefings, as well as the extent to w h i c h - discussions with Secretary Esper may have

impacted the drafting of the SSEB Report or his briefing of the SSAC, or otheIWise affected the

SSAC's recommendation to the SSA and the SSA's ultimate best value detenn.ination. Thus, to

effectively review A WS's allegations of bias and bad faith, this Com1 must know "what actually

transpired" within DoD as a result of the President's interference, lest an incomplete AR

"perpetuate e1rnr and impede and frustrate effective judicial review." AshBritt, Inc. v. United

States, 87 Fed. CL 344, 366 (2009); see also Int'/ Res. Recovery, 61 Fed'. Cl. at 41-42 (bid protests

involving "[a ]llegations of bias, prejudice and bad faith" "are not amenable to record review,"

since these allegations "necessarily cannot be subsumed within the record of a challenged award

decision" (internal quotation marks omitted)).




     extent the Government contends there are specific materials in the Appendix that must be
     <tdmissible to be eligible for supplementation, the Court should grant AWS leave to take
     cliscove1y to establish a foundation for the admissibility of tl1e facts coutainecl therein.


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        Indeed, some of the clearest evidence of bias and bad faith to date-like President Tnunp's

statement to Secretary Mattis to "screw Amazon" out of the JEDI Contract, or his asking advisors

"how can I f"'*k with [Mr. Bezos]"-occurred behind closed doors, hidden from public view. See

APP 019; APP 069. That these incidents happened to surface in the public record through

reporting only underscores the significant likelihood there is additional evidence and testimony

directly bearing on issues of bias and bad faith that will only be uncovered through discovery. And

the limited infonnation in the AR prompts more questions than it answers. For example, the ''read

ahead" documentation for the July 29, 2019, meeting attended by b o t h - and Secretary

Esper included an "assumption" that DoD will "[h]ave to compete with a nanative on undue

pressure from third party entities." AR Tab 335 at 151364. Discovery is necessary to determine,

inter alia, whether this reference to "undue pressure" relates (as it appears) to President Trump's

public campaign against AWS and the effort of Amazon's competitors to influence the President

to wield his power to e1ism·e that A WS did not receive the JEDI Contract

        To that end, A WS respectfully seeks targeted discovery to ensure that it has the opportunity

to uncover the facts necessa1y for this Court to conduct effective judicial review over A WS 's

claims of bias and bad faith. In paiiicular, A WS seeks leave to serve three narrow categories of

discovery at th.is time, which are highly probative of AWS 's allegations of bad faith and bias,

proportional to the needs of this case, and consistent with discovery that this Court has permitted

in other protests involving similar allegations. 14 Far from being speculative, AWS's discovery




14
     See, e.g ., Starry Assocs. , 125 Fed. Cl. at 624 (granting supplementation through depositions in
     light of "credible allegations of bias and spotty explanations of agency conduct"); Pitney
     Bowes Gov 't Sols., 93 Fed. CL ;:it 334 (allowing supplementation through depositions w]1ere
     plaintiff had made '" sufficiently well grounded"' allegations of bias); J C.N. Cons tr. Co. v .
     United States, 60 Fed. Cl. 400, 404 n.8 (2004) (allowing depositions to explore allegations of



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requests are targeted to elicit evidence relating to the core issues of bias and bad faith, and how

that bias and bad faith was propagated throughout DoD to result in an unsupportable award

decision-evidence that will be crncial if A WS is to have an "opportunity to prove [its]

allegations," as is its right L-3 Commc'ns Integrated Sys., 91 Fed. CJ. at 354. AdditionalJy, the

need for discovery is heightened given the JEDI Cloud Source Selection Plan's instruction to

"shred or place all working papers/rough drafts not required for retention ... in a bum bag for

immediate destruction" "[p]rior to award," AR Tab 114 at 6731, which s1rnngly suggests there is

additional, relevant information about the procurement process that is not reflected in the

documentary evidence, and which will only be uncovered through targeted depositions and

interrogatories.

         1.     Depositions (Exhibit A)15

           W seeks leave to notice the depositions of seven individuals who were instrnmental in

the JEDI source selection and played pivotal roles in the ultimate JEDI Contract award. The

specific areas of inquiry for each proposed deposition are described in greater detail below:

     •   President Donald J. Tr11mp. President Trump bas well-documented personal animus
         towards Mr. Bezos, Amazon, and the Washington Post. He specifically instructed then-
         Sec1·etary Mattis to "screw Amazon" out of the JEDI Contract, and he has made other
         public and private statements reflecting his desire that A WS not be awarded the contract.
         President Trump has unique knowledge about his involvement in the bid process, including
         private conversations with and instructions to others about the process and the award.
         While other individuals can testify about specific conversations he had with them


     bias); Palanlir, 129 Fed. Cl. at 240 (allowing document discovery and depositions to facilitate
     effective review of allegations of bias and bad faith); Jnfore/ia11ce C01p. v. United States, 118
     Fed. Cl. 744, 749-50 (2014) (pennitting discovery to investigate allegations of bias and bad
     faith so that "the merits of [plaintiff's] claim may be tested on a complete record").
15
     To the extent DoD is unable or tmwilling to accept AWS's Notice of Depositions to ensure the
     appearance of these individuals for deposition, AWS seeks leave to serve, pursuant to Rule 30
     of the Rules of the United States Court of Federal Claims, subpoenas that are consistent with
     the attached proposed deposition notices.



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         individually, President Tnunp is the only individual who can testify about the totality of
         his conversations and the overall message he conveyed. Moreover, President Trump has
         unique knowledge about whether he had other, previously undisclosed conversations with
         individuals not previously identified, and wl10 therefore do not appear on the deposition
         list. A WS seeks leave to depose President Tnunp about conversations or other
         involvement he had regarding the JEDI bid process or efforts to harm Amazon or A WS. 16

     •   Former Secretary of Defense James Matti . Secretary Mattis has highly relevant, first-
         hand knowledge about President Trump's animus towards Mr. Bezos and Amazon, and the
         effort President Trump took to pressure DoD officials-including Secretary Mattis
         himself:- into altering the JEDI award decision. Additionally, because Secretary Mattis
         served as Secretary of Defense during the inception of the JEDI project and solicitation, he
         has knowledge about the drafting and launch of the JEDI Contract solicitation process, and
         internal DoD discussions regarding A WS and other competitors. A WS seeks leave to
         depose Secretary Mattis about conversations or other involvement he had regarding the
         JEDI bid process or presidential efforts to influence the procurement.

     •   Secretory of Defense Mark E i_Per. Secretary Esper's public statements indicate that be
         had been involved in discussions with President Trump, other White House officials, and
         politicians regarding the JEDI procurement process. Additionally, Secretary Esper was the
         individual who intervened in the JEDI award process so that he could conduct an
         "examination" at President Trump's behest, and A WS has identified several facts
         surrounding the unusual tiniing of his recusal in Odober 2019. AWS seeks leave to depose
         Secretary Esper about the facts regarding his involvement in the review of the JEDI
         procurement process, his interactions with President Trump and other White House
         officials, his interactions with members of the Source Selection Team, and the
         circumstances suuounding his decision to recuse himself from the JEDI source selection
         process.

     •   DoD Cllief Information Officer Dana Deasy. Mr. Deasy, as DoD CIO, has indicated that
         he has intimate ktJowledge about the JEDI Contract and procurement process, both from a
         technical and procedural perspective, including the supposed measures that DoD took to
         insulate the decision-makers from outside influence. A WS seeks leave to depose
         Mr. Deasy about his involvement in the JEDI procmement process, the steps that DoD took
         to ensure a lawful and llllhiased procurement decision, and his interactions with President
         Tromp, who had nominated Mr. Deasy to his position in June 2019.




16
     A WS ackt1owledges that there are sensitivities with deposing President Tnunp. While it is
     clear that a President can be subject to judicial process while in office, see Cli11ton v. Jones,
     520 U.S. 681, 694--95, 703-06 (1997), AWS will work with the Com1 and the Department of
     Justice to develop appropriate protocols and safeguards, including to evaluate alternative
     methods, to ensure that the testimony is procured in a manner sensitive to the unique position
     of the Executive Office of the President.


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    •   Source Selection Authority,                                                          : the
        SSA, executed the October 17 2019 Source Se ecllou Dec1s1on Documenl whic awarded
         the JEDI Contract to Microsoft As the person charged with selecting Microsoft as the
        awardee of tl1e JEDI Contract, and who drafted the Source Selection Decision Document,
        -                has singular know]edge of the circumstances of the final award decision to
        ~ v e u that the Sm.u-ce Selection Decision Document would obviously not
        include a n ~ 1 e n t s about bias, bad faith, or undue influence, A WS seeks leave
        to depose -                 regarding the circumstances surrounding her decision to award
        the JEDI ontrnct to Microsoft including any additional factors that influenced the process
        that are not discussed in the Source Selection Decision Document.

    •    Chairpersons ofthe Source Selection Advisory Co11ncil and Source Selection Evaluation
        Board. The chajrpersons of the S A aud S EB,
        -       have unique insight into the evaluation and ana yses o1 e JEDI propos    w c1
        fueSSA considered in reachiu its decision. Depositions of these individuals will clarify
         the recommendations the SSAC and SSEB ga e to the SSA pei1aining to the A WS and
        Microsoft proposals, and illuminate how bias and bad faith influenced the evaluators'
        analyses and final decision. Additionally, AWS seeks leave to depose these chairpersons
        about how Prnsident Trump's biased statements against AWS may have affected or
        influenced their decision-making, and the extent to which discussions with senior DoD
        officials relayed President Trump's directives.

        2.     Interrogatories (Exhibit B)

        In addition to depositions, supplementation of the record would be facilitated through nine

targeted interrogatories, whlch will ensure A WS has a written explanation from DoD for some of

the most troubling aspects of the JEDI procurement process, whlch give rise to A WS 's allegations

of bad faith and bias. As noted above, A WS had requested such written responses from DoD

through its written debriefing questions, which AWS submitted pursuant to 10 U.S.C.

§ 2305(b)(5). See supra, p. 14. DoD has refused to provide any substantive response to these

questions, making court-ordered discove1y all the more appropriate. Requiring DoD to provide

written responses now will aid the pa11ies and the Court in narrowing the issues, ensuring the

record is adequately developed with respect to the key factual issues, and thus facilitate an efficient

and effective adjudication of A WS's bias and bad faith claims. A WS accordingly seeks leave to

propound the following nine intenogatories:




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    •   Interrogatories 1, 2, and 3. Interr gatories 1, 2, and 3 request targeted responses regarding
        Secretary Esper' s participation and recusal in the JEDI source selection process. Secretary
        Esper's admission that he had ordered an examination of the JEDI award based on
        discussions with the White Hous~oupled with President Trnmp's statement that he was
        ''very closely looking" into the JEDI award--confum Secretary Esper's central role in
        injecting President Trump's bias against AWS into DoD's decision-making process. His
        meetings with a member of the Source Selection Team during final proposal evaluations
        demonstrate the opportunities for him to communicate that bias and directive to those most
        deeply involved in the source selection decision.

    •   lnte"ogotory 4. Interrogatory 4 as.ks for infonnation regarding the selection and
        composition of the TEB, PEB, SSEB, SSAC, and SSA, who are the individuals charged
        with evaluating proposals and selecting the awardee of the JEDI Contract. Given the
        amount of discretion that they wielded over the evaluations and award decision, it is
        critically important that AWS understand how the members of the SST were selected (and
        any potential ways in which their appointment was influenced by pressure from President
        Trump a11d/or senior DoD officials).

    •   lnlerrogalory 5 and 6. Interrogatories 5 and 6 ask DoD to identify facts regarding the
        SSA's award of the JEDI Contract, including whetl1er and why the SSA modified the
        recommendations of the SSAC and/or SSEB, and any relevant facts occmring between
        wl1en the SSA executed the Source Selection Decision Document and when DoD publicly
        announced the award decision. Because A WS 's claims focus on how bias and bad faith
        had an tmdue influence on the evaluations, recollllllendations, and award decision of
        evaluators and decision-makers, understanding how these .individuals reached their
        conclusions are critical factual issues that merit discove1y.

   •    Inte"ogatories 7, 8, a11d 9. Interrogatories 7, 8, and 9 seek facts that directly bear 011
        AWS's claims of bias and bad faith. Inte.rrogatories 7 and 8 relate to the mechanisms of
        interactions between DoD and President Trump, which will reflect how President Trump's
        bias was propagated throughout DoD. And Interrogatory 9 is tailored to elicit specific
        interactions between DoD and other JEDI solicitation offerers that relate to Mr. Bezos,
        Amazon, A WS, and President Trump, which will develop evidence of the ways in which
        AWS's competitors-like Oracle--leveraged President Tmmp's known bias against
        Amazon to influence the decision-making process.

        3.     Requests for Prod11ctio11 (Exhibit C)

        Finally, the Court's adjudication of AWS's bias and bad faith claims requrres

supplementation of the AR through targeted requests for production that are calculated to yield

documents relating to the key issues regarding bias and bad faith.        In addition to requesting

documents directly concerning the bias and bad faith that was prevalent at the highest levels of the




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Administration, these requests focus on uncovering specific evidence about how DoD decision-

makers' assessment of A WS and other proposals changed over time in response to external

pressures from their leadership, including the President.

         Because it is neither reasonable nor logical to expect DoD to have included such documents

in the AR (and it did not) (see supra, p. 15 n.10), and because such documents are non-public and

created, used, and circulated only within DoD (and thus inaccessible to A WS), the only way that

these materials may be surfaced and considered by the Court is through docuweat production.

Specifically, A WS seeks leave to propound the following ten requests for production on the topics

listed below. 17

     •   Requests 1 and Z. Requests 1 and 2 seek critically important documents to -undeJstand
         how bias and bad faith influenced the DoD's evaluation and decision-making procurement
         functions. fa particular, production of interim drafts and working documents (which the
         Government was required to, but did not, provide in the AR) will reveal the candid,
         contemporaneous opinions of decision-makers regarding A WS 'sand Microsoft's offerings
         and demonstrations, and show how those assessments evolved over time in response to
         outside pressures and influences. To the extent such opinions contrast from DoD's final
         decision reports, these differences directly demonstrate how bias and bad faith altered the
         opinions of those directly valuating the proposals.

     •   Requests 3 and 4. Requests 3 and 4 seek documents bearing on how external bias and
         pressure affected the SSA, SSAC, and SSEB. fa particular, Request 3 seeks all external
         comnmnicafions that m embers of the SSA, SSAC, and SSEB had regarding tl1e JEDI
         Contract. By seeking external-facing commturications, this request is tailored to identify
         the sources of external pressure that may have affected the SSA, SSAC, and SSEB's
         internal deliberations. Request 4 seeks conununications involving SSA, SSAC, and SSEB
         members that discuss President Trump. These documents will be relevant because they




17
     A WS drafted its proposed requests to specifically target evidence of bias and bad faith, to
     minimize any burden and dismption to DoD, and to ensure that these proceedings can be
     completed in as expeditious a manner as possible. Cf Stany Assocs., 125 Fed. Cl. at 623
     ( acknowledging that discovery may be "necessary for the court to resolve the issues presented"
     regarding "allegations of bias and unexplained agency action"). AWS is willing to work with
     DoD on ways to accomplish those objectives, including, for example, stipulating to a set of
     custodians and search terms to ensure DoD can respond .in a tin1ely manner and with reasonable
     eff01t.


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        will demonstrate the evaluators' views and reactions to President Trump, including his
        statements regarding Mr. Bezos, A WS, Amazon, and the JEDI Contract.

    •   Request 5. Request 5 seeks documents relating to DoD's internal reviews, evaluations,
        and analyses of potential conflicts of interest regarding JEDI (e.g., those of Secretary Esper
        and Principal Deputy Assistance Secretary Cummings). Given the numerous reports and
        concerns, including from senior members of Congress, that the JEDI Contract procurement
        process was biased, DoD 's internal docttments discussing these alleged conflicts of interest
        are clearly relevant to assessing whether there actually existed any bias within DoD relating
        to the award.

    •   Requests 6, 7, 8, and 9. Requests 6, 7, 8, and 9 call for production of communications with
        President Trump regarding the JEDI Contract and Mr. Bezos, Amazon, A WS, and the
        Washington Post. Because AWS's allegations of bias and bad faith originate from
        President Tmmp, his statements and communications regarding the JEDI Contract are
        highly probative of bias and will establish how his bias was communicated to those within
        DoD.

    •   Request 10. Request 10 calls for docwnents within DoD that relate to highly specific
        phrases (e.g., "screw Amazon," "Bezos Bailout," and "No Bid Bezos") that, on their face,
        embody bias and bad faith against A WS, and are therefore inherently probative of A WS 's
        bias and bad faith allegations in this case.

                                          CONCLUSION

        A WS 's allegations of bad faith and bias are credible and well supported, and these claims

cannot be fairly considered and evaluated without supplementation. In order to achieve a full and

fair evaluation of this bid protest, the Court should grant AWS's Motion to Supplement the

Administrative Record with the materials in the attached Appendix. The Court also should grant

A WS leave to take targeted discovery that will allow a complete presentation A WS 's claims of

bad faith and bias.




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Dated: January 17, 2020         Respectfully submitted,



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